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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               Case No.:

  BENNIE ROBINSON,

                 Plaintiff,

  vs.

  JUSTIN HARRIS, individually,
  and the CITY OF BOYNTON BEACH,
  a Florida Municipal corporation,

                 Defendants.
                                                /

                                       COMPLAINT
                                 INTRODUCTORY STATEMENT

         1.      This is a civil action seeking money damages in excess of $15,000 dollars, exclusive

  of costs, interest, and attorney’s fees, against Defendant JUSTIN HARRIS, individually, and

  Defendant CITY OF BOYNTON BEACH, a Florida Municipal corporation.

         2.      This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Fourth and

  Fourteenth Amendments to the United States Constitution. The United States District Court for the

  Southern District of Florida has jurisdiction of this action under 42 U.S.C. § 1983, 28 U.S.C. § 1331

  and 28 U.S.C. § 1343. Plaintiff further invokes the supplemental jurisdiction of the United States

  District Court to hear pendant State tort claims arising under State law, pursuant to 28 U.S.C.

  §1367(a).

         3.      Plaintiff has fully complied with all conditions precedent to bringing this action

  imposed by the laws of the State of Florida, and particularly by the provisions of § 768.28 of the

  Florida Statutes.
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                                              PARTIES

         4.      Plaintiff BENNIE ROBINSON (hereinafter “Plaintiff”) is a resident of Broward

  County, State of Florida.

         5.      At all times referred to herein, Defendant JUSTIN HARRIS [hereinafter HARRIS or

  Defendant HARRIS] was employed as a police officer for Defendant CITY OF BOYNTON

  BEACH, and was acting under the direction and control of Defendant CITY OF BOYNTON

  BEACH, and in such capacity as an agent, servant and employee of Defendant CITY OF BOYNTON

  BEACH, and its police department.

         6.      Defendant CITY OF BOYNTON BEACH [hereinafter CITY or CITY OF

  BOYNTON BEACH or Defendant CITY OF BOYNTON BEACH] is a Florida municipal

  corporation, organized and existing under the laws of the State of Florida. In this cause, the CITY

  acted through its agents, employees, and servants, including Defendant HARRIS and others.

         7.      Plaintiff sues Defendant HARRIS in his individual capacity.

                              FACTS COMMON TO ALL COUNTS

         8.      At all times material hereto, Plaintiff was a volunteer coach for the East Boynton

  Wildcasts Florida Youth Football League.

         9.      At all times material hereto, Plaintiff was also a kidney dialysis patient.

         10.     Following football practice on the evening of August 11, 2013, Plaintiff was a

  passenger in a 2010 Dodge Charger automobile operated by Shayla Valentine (hereinafter

  “Valentine”). (Valentine borrowed the Dodge Charger from a friend)

         11.     Plaintiff was occupying the front passenger’s seat of the motor vehicle, and two of

  the youth league football players occupied the backseat of the vehicle.

         12.     As Valentine turned into the driveway of 804 NW 4th Street, Boynton Beach, Palm
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  Beach County, Florida (where one of the youth football players lived), a police vehicle occupied by

  Defendant HARRIS and Defendant CITY OF BOYNTON BEACH police officer Steven Mills

  (hereinafter “Mills”) pulled in behind the Dodge Charger with its emergency lights activated.

           13.   At all times material hereto, Valentine operated the Dodge Charger lawfully, and

  violated no traffic laws, whatsoever.

           14.   Mills immediately approached the driver’s side of the Dodge Charger with his firearm

  displayed, and ordered Valentine to open the driver’s side window of the vehicle. Valentine

  complied.

           15.   Mills pulled open the door of the vehicle and directed Valentine to exit. Valentine

  complied.

           16.   While standing outside the vehicle, Valentine questioned Mills concerning the basis

  for the stop (as Mills continued to hold Valentine at gunpoint).

           17.   When Valentine questioned Mills conduct, Mills became verbally aggressive with

  Valentine.

           18.   When Mills became verbally aggressive with Valentine, Plaintiff stated to Mills (from

  the front passenger’s seat): “Why are you talking to her like that. You don’t have to talk to her like

  that.”

           19.   Plaintiff then heard a knock on the front seat driver’s side window of the Dodge

  Charger.

           20.   Plaintiff looked to his right and observed Defendant HARRIS, who ordered Plaintiff

  at gunpoint to exit the Dodge Charger and place his hands on the roof of the vehicle, stating: “I

  should shoot you in your fucking head.” (Plaintiff also observed a third police officer, Cory Henry,

  standing behind the trunk of the Dodge Charger)
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         21.     With his hands on the roof of the car, Plaintiff looked back and observed Defendant

  HARRIS’s gun pointed at his face.

         22.     Plaintiff stated to Defendant HARRIS: “If you are going to shoot me, shoot me. I

  didn’t do anything.”

         23.     Defendant HARRIS then ordered Plaintiff to place his hands behind his back,

  whereupon Plaintiff was handcuffed and placed under arrest by Defendant HARRIS for the offense

  obstruction of justice in the absence of probable cause that Plaintiff committed any criminal offense.

         24.     At all times material hereto, Plaintiff was on dialysis. During the arrest process

  Plaintiff’s dialysis port was damaged by Defendant HARRIS. (Plaintiff subsequently received a

  kidney transplant in 2015)

         25.     Plaintiff was then transported to Defendant CITY OF BOYNTON BEACH’s police

  department.

         26.     After several hours in custody, Plaintiff was issued a notice to appear and released.

         27.     On or about September 10, 2013, the Palm Beach County State Attorney’s Office

  filed a No Information as to the charge of resisting arrest without violence, and Plaintiff has never

  been convicted of any criminal offense by any prosecuting authority as a result of his arrest by

  Defendant HARRIS on August 11, 2013. (Valentine was issued a traffic “warning,” notwithstanding

  the fact operated the Dodge Charger in a lawful manner)

         28.     The conduct of Defendant HARRIS , as set forth herein, occurred under color of state

  law.
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                                        CAUSES OF ACTION

                                COUNT I
        FIRST AMENDMENT FREE SPEECH RETALIATION CLAIM AGAINST
     DEFENDANT HARRIS, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

  For his cause of action against Defendant HARRIS, individually, in Count I, Plaintiff states:

          29.     Plaintiff realleges and adopts, as if fully set forth in Count I, the allegations of

  paragraphs 1 through 28.

          30.     Plaintiff’s arrest by Defendant HARRIS was in retaliation for Plaintiff’s protected

  speech under the First Amendment.

          31.     The arrest of Plaintiff by Defendant HARRIS occurred in the absence of probable

  cause that Plaintiff committed any criminal offense, and under circumstances likely to deter a person

  of ordinary firmness from the exercise of First Amendment rights. The conduct of Defendant

  HARRIS towards Plaintiff constitutes unlawful retaliation in violation of Plaintiff’s clearly

  established rights under the First and Fourteenth Amendments, and 42 U.S.C. § 1983.

          32.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation, mental suffering, and damaged reputation.

          33.     As a further direct and proximate result of the conduct of Defendant HARRIS,

  Plaintiff suffered loss of his liberty and freedom, mental anguish, physical injury, medical care and

  treatment, and loss of capacity for the enjoyment of life. Plaintiff’s losses are either permanent or

  continuing and Plaintiff will suffer the losses in the future, in violation of Plaintiff’s civil rights.

  Plaintiff has also agreed to pay the undersigned a reasonable fee for his services, herein.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $ 15,000 dollars;
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                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988;

                  v.      Trial by jury as to all issues so triable; and

                  vi.     Such other relief as this Honorable Court may deem just and appropriate.

                              COUNT II
  FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST DEFENDANT HARRIS,
            INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

  For his cause of action against Defendant HARRIS, individually, in Count II, Plaintiff states:

          34.     Plaintiff realleges and adopts, as if fully set forth in Count II, the allegations of

  paragraphs 1 through 28.

          35.     Defendant HARRIS proximately caused the arrest of Plaintiff in the absence of

  probably cause that Plaintiff committed any criminal offense.

          36.     The conduct of Defendant HARRIS towards Plaintiff was objectively unreasonable,

  in violation of Plaintiff’s clearly established rights under the Fourth and Fourteenth Amendments

  and 42 U.S.C. § 1983 to be free from arrest in the absence of probable cause that Plaintiff committed

  any criminal offense.

          37.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

  § 1983, Plaintiff has suffered grievously, has been brought into public scandal, and with great

  humiliation, mental suffering, and damaged reputation.

          38.     As a further direct and proximate result of the conduct of Defendant HARRIS,

  Plaintiff suffered loss of his liberty and freedom, mental anguish, physical injury, medical care and

  treatment, and loss of capacity for the enjoyment of life. Plaintiff’s losses are either permanent or

  continuing and Plaintiff will suffer the losses in the future, in violation of Plaintiff’s civil rights.
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  Plaintiff has also agreed to pay the undersigned a reasonable fee for his services, herein.

            WHEREFORE, Plaintiff prays:

                  i.     Judgment for compensatory damages in excess of $ 15,000 dollars;

                  ii.    Judgment for exemplary damages;

                  iii.   Cost of suit;

                  iv.    Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988;

                  v.     Trial by jury as to all issues so triable; and

                  vi.    Such other relief as this Honorable Court may deem just and appropriate.

                                     COUNT III
                  FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                         DEFENDANT CITY OF BOYNTON BEACH

  For his cause of action against Defendant CITY OF BOYNTON BEACH, in Count III, Plaintiff

  states:

            39.   Plaintiff realleges and adopts, as if fully set forth in Count III, the allegations of

  paragraphs 1 through 28.

            40.   Defendant HARRIS proximately caused Plaintiff’s arrest in the absence of probable

  cause that Plaintiff committed any criminal offense.

            41.   The conduct of Defendant HARRIS towards Plaintiff was unreasonable and

  unwarranted and without legal authority, and constitutes false arrest/false imprisonment of Plaintiff

  under Florida law.

            42.   The conduct of Defendant HARRIS constitutes false arrest/false imprisonment of

  Plaintiff under Florida law.

            43.   The false arrest/false imprisonment of Plaintiff by Defendant HARRIS committed

  by Defendant HARRIS in the course and scope of his employment as a police officer for Defendant
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  CITY OF BOYNTON BEACH.

         44.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation, mental suffering, and

  damaged reputation.

         45.     As a further direct and proximate result of the conduct of Defendant CITY OF

  BOYNTON BEACH, Plaintiff suffered loss of his liberty and freedom, mental anguish, physical

  injury, medical care and treatment, and loss of capacity for the enjoyment of life. The losses are

  either permanent or continuing and Plaintiff will suffer the losses in the future, in violation of

  Plaintiff’s rights under Florida law.

         WHEREFORE, Plaintiff prays:

                 i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                 ii.     Cost of suit;

                 iii.    Trial by jury as to all issues so triable; and

                 iv.     Such other relief as this Honorable Court may deem just and appropriate.

                                   COUNT IV
                FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                        DEFENDANT HARRIS, INDIVIDUALLY

  For his cause of action against Defendant HARRIS, individually, in Count IV, Plaintiff states:

         46.     Plaintiff realleges and adopts, as if fully set forth in Count IV, the allegations of

  paragraphs 1 through 28.

         47.     Defendant HARRIS proximately caused Plaintiff’s arrest in the absence of probable

  cause that Plaintiff committed any criminal offense.

         48.     The conduct of Defendant HARRIS towards Plaintiff was unreasonable and

  unwarranted and without legal authority, and constitutes false arrest/false imprisonment of Plaintiff
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  under Florida law.

         49.     Alternatively to the allegations set forth in Count III, if the false arrest/false

  imprisonment of Plaintiff by Defendant HARRIS occurred outside the course and scope of his

  employment or was committed in bad faith or with malicious purpose or in a manner exhibiting

  wanton and willful disregard of human rights, safety, or property, then the false arrest/false

  imprisonment of Plaintiff was committed by Defendant HARRIS in his individual capacity.

         50.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation, mental suffering, and

  damaged reputation.

         51.     As a further direct and proximate result of the conduct of Defendant HARRIS,

  Plaintiff suffered loss of his liberty and freedom, mental anguish, physical injury, medical care and

  treatment, and loss of capacity for the enjoyment of life. The losses are either permanent or

  continuing and Plaintiff will suffer the losses in the future, in violation of Plaintiff’s rights under

  Florida law.

         WHEREFORE, Plaintiff prays:

                 i.      Judgment for compensatory damages in excess of $ 15,000 dollars;

                 ii.     Judgment for exemplary damages;

                 iii.    Cost of suit;

                 iv.     Trial by jury as to all issues so triable; and

                 v.      Such other relief as this Honorable Court may deem just and appropriate.

                                    DEMAND FOR JURY TRIAL

         52.     Plaintiff demands trial by jury on all issues so triable as of right.

         DATED this       12th day of September, 2016.
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